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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

                                            §
   REALTIME DATA LLC d/b/a IXO,             §
                                            §
         Plaintiff,                         §   Civil Action No. 6:15-cv-463
                                            §
   v.                                       §   JURY TRIAL DEMANDED
                                            §
   ACTIAN CORP., et al.,                    §   LEAD CONSOLIDATED CASE
                                            §
         Defendants.                        §
                                            §

          RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW

         Defendant Riverbed, having moved orally for judgment as a matter of law at

   the close of Plaintiff’s case-in-chief, files this Renewed Motion for Judgment as a

   Matter of Law at the close of the case and before the matters go to the jury. For the

   reasons stated in more detail below, Realtime has failed to meet its burden to prove

   infringement of claims 1 and 14 of the ’530 Patent and claim 1 of the ’513 Patent

   and judgment as a matter of law is warranted.

   1.    There is no substantial evidence of direct infringement of Claims 1
         or 14 of the ’530 Patent.

         To show direct infringement of the ’530 Patent, Realtime has the burden to

   show by a preponderance of the evidence that Riverbed makes, uses, sells, or offers

   to sell a product that contains every single element of claim 1 or 14 of the ’530

   Patent. Realtime failed to satisfy this burden for numerous reasons. Further, it is
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   not enough to show that the SteelHead is reasonably capable of infringing. 1 Rather,

   Realtime must show that actual infringement of each and every element of a claim.

   Realtime has not met this burden.

            First, it is undisputed that claims 1 and 14 both require two different forms

   of compression. 2 The parties agree that the SteelHead uses one form of compression,

   LZ compression. The dispute lies with whether the SteelHead performs a second

   form of compression. It does not. The Court construed “compression” to mean “the

   representation of data with fewer bits.” Data, in turn, is “a representation of

   information.” But the evidence presented shows that SteelHead’s SDR process

   sends only a reference number to the receiving computer. 3 It does not send the

   data—that is, the information itself—either compressed or uncompressed. Although

   Realtime’s witnesses argued that SDR’s references are a “representation of data

   with fewer bits,” Realtime never disputed that SDR references are merely a

   reference or call number and do not actually include the data they purport to

   “represent.” Thus, the issue comes down to one of law, to wit, whether sending a

   reference that informs the receiving computer where to find its own stored data can

   “represent data with fewer bits.” It cannot. There is no data. For this reason,

   Riverbed urges the Court to find that Realtime has failed to prove that Riverbed’s

   Accused SteelHead products infringe each and every element of claims 1 and 14 of

   the ’530 Patent and judgment on these claims is proper as a matter of law.


   1
     See Ball Aerosol & Specialty Container, Inc. v. Limited Brands, Inc., 555 F.3d 984, 994 (Fed. Cir. 2009).
   2
     Trial Tr., May 22, 2017 P.M., 143:13-15.
   3
     Trial Tr., May 24, 2017 P.M., 87:13-18.




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              Second, Realtime failed to prove the “memory device” and “storage”

   requirements of claims 1 and 14 of the ’530 Patent of storage. The accused memory

   device of the SteelHead does not store data. As Dr. Villasenor testified, there can be

   no storage because later retrieval is not possible. 4 Once again, Realtime disagrees

   with this conclusion but cites no evidence to support it. Accordingly, the Court

   should decide as a matter of law whether the fact that later retrieval is not possible

   defeats the “memory device” and “storage” requirements of claims 1 and 14.

              Third, Realtime failed to show a data accelerator “coupled to” the memory

   device. For this element, Realtime claims the “data accelerator” is the sending

   SteelHead while the “memory” device is in a second SteelHead device. Dr.

   Mitzenmacher testified both on direct and again on rebuttal that “Riverbed does not

   sell its Steelheads connected to the network” and that the customer connects the

   Steelheads to the network. 5 Neither Dr. Mitzenmacher nor any other witness

   presented evidence that Riverbed sells networks or the other equipment necessary

   to connect the Steelheads to the network. Accordingly, Realtime cannot show that

   Riverbed sells an infringing product. Realtime also failed to show internal use by

   Riverbed. But even if it had, Realtime’s damages model—based on Riverbed sales

   revenue—provides no damages tied to any internal SteelHead use by Riverbed.

              Fourth, Realtime failed to provide substantial evidence that “a data stream is

   received” by the SteelHead. The evidence shows that SDR creates the data blocks—

   a required part of the data stream—and that the blocks have characteristics the

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       Trial Tr., May 25, 2017 A.M. at 17:7-25.
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       Trial Tr., May 23, 2017 A.M. at 126:20-127:4.




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   data encoder controls.. Because this conflicts with the Court’s construction of this

   term, the SteelHead cannot meet this element.

              Finally, Realtime failed to present substantial evidence that compression and

   storage occurs “faster than said data stream is able to be stored on said memory

   device in said received form.” Even accepting that the buffer is a “memory device,”

   Realtime presented no evidence of the time it takes to store and data on the buffer,

   whether in compressed or received form. Rather, as Ryan Damon testified, the

   evidence shows that the only tests performed assess the speed of the entire process,

   from the sending computer to the receiving computer. 6 None of the tests indicate

   when the data landed on the receiving Steelhead’s buffer. More importantly,

   Realtime never addressed the second half of the element: it never showed the

   baseline against which to measure the compression and storage. It never showed

   the speed with which “said data stream is able to be stored in said received form.”

   Rather, in the “bypass” tests, the data is never stored on the buffer. Accordingly,

   there is nothing in evidence to support Realtime’s arguments on this element. The

   complete absence of evidence on this element supports judgment as a matter of law

   on Realtime’s infringement claims relating to claims 1 and 14 of the ’530 Patent.

              The doctrine of equivalents does not cure this lack of evidence. Realtime

   failed to provide particularized testimony and linking argument as to the

   insubstantiality of the differences with respect to the function-way-result test as to

   any element of claim 1 or claim 14 of the ’530 Patent. Although Dr. Mitzenmacher


   6
       Trial Tr., May 24, 2017 A.M. at 101:1-9.




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   purported to address the doctrine of equivalents, he did no more than recite the

   standards along with conclusory assertions that they had been met. 7 This

   conclusory testimony does not rise to the level of substantial evidence.

           Realtime did not remedy any of these evidentiary deficiencies on rebuttal.

   Although Dr. Mitzenmacher was called on rebuttal, he failed to present any new or

   additional evidence solving Realtime’s shortcomings. Because Realtime has failed to

   prove that Riverbed’s SteelHead satisfies each and every element of claims 1 and 14

   of the ’530 Patent, Riverbed moves for judgment as a matter of law on those claims.

   2.      There is no substantial evidence of infringement of the ’513 Patent.

           To show direct infringement of the ’513 Patent, Realtime has the burden to

   show by a preponderance of the evidence that Riverbed makes, uses, sells, or offers

   to sell a product that contains every single element of claim 1 of the ’513 Patent.

   Realtime failed to satisfy this burden for a litany of reasons. Further, it is not

   enough to show that the SteelHead is reasonably capable of infringing. 8 Rather,

   Realtime must show that actual infringement of each and every element of a claim.

   Realtime has not met this burden.

           First, it is undisputed that claim 1 of the ’513 Patent requires two different

   forms of compression. 9 The parties agree that the SteelHead uses one form of

   compression, LZ compression. The dispute lies with whether the SteelHead

   performs a second form of compression. It does not. The Court construed


   7
     Trial Tr., May 23, 2017 A.M. at 52:1-53:11, 78:6-80:6.
   8
     See Ball Aerosol, 555 F.3d at 994.
   9
     Trial Tr., May 22, 2017 P.M. at 153:13-154:10.




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   “compression” to mean “the representation of data with fewer bits.” Data, in turn, is

   “a representation of information.” But the evidence presented shows that

   SteelHead’s SDR process sends only a reference number to the receiving

   computer. 10 It does not send the data—that is, the information itself—either

   compressed or uncompressed. Although Realtime’s witnesses argued that SDR’s

   references are a “representation of data with fewer bits,” Realtime never disputed

   that SDR references are merely a reference or call number and do not actually

   include the data they purport to “represent.” Thus, the issue comes down to one of

   law, to wit, whether sending a reference that informs the receiving computer where

   to find its own stored data can “represent data with fewer bits.” It cannot. There is

   no data. For this reason, Riverbed urges the Court to find that Realtime has failed

   to prove that Riverbed’s Accused SteelHead products infringe each and every

   element of claims 1 of the ’513 Patent and judgment on this claim is proper as a

   matter of law.

              Second, there is no substantial evidence that the Steelhead practices content-

   dependent compression under the Court’s construction of that term. First, SDR is

   not compression for the reasons stated above. Second, although Realtime argues

   that SDR is content-dependent, the only testimony of how SDR actually operates

   indicates that it treats all data the same, regardless of content. 11 Because Realtime

   failed to present substantial evidence that SDR is content-dependent compression it

   cannot satisfy all the elements of claim 1 of the ’513 Patent.

   10
        Trial Tr., May 24, 2017 P.M., 87:13-18.
   11
        Trial Tr., May 24, 2017 P.M. at 85:2-8.




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         Third, there is no substantial evidence that the Steelhead practices content-

   independent compression under the Court’s construction. Specifically, Realtime

   argues that LZ compression is content-independent, but it failed to meet its burden

   to prove this element. Once again, the facts are undisputed as to how SDR and LZ

   work. It is only the conclusion of how that functionality fits with the claim terms.

         Fourth, claim 1 of the ’513 Patent calls for two separate steps of analyzing.

   Realtime failed to show these two steps. Indeed, on rebuttal, Dr. Mitzenmacher’s

   best explanation (which he failed to even raise until rebuttal) was that the two

   analyzing steps can be performed by the same step of an accused product. But this

   is wrong as a matter of law. While it is true that sometimes one aspect of an

   accused product can satisfy more than one element of a patent claim, this general

   rule does not allow a method patent that specifically calls for two separate

   analyzing steps being performed in a sequence. Here, because each analyzing step

   requires a different analysis and because of the implied order of the analyzing

   steps—you must first analyze the plurality and compress and then analyze a

   block—there are two separate and distinct steps. It is conceded that SteelHead does

   not do two analyzing steps and Realtime has no substantial evidence of

   infringement of claim 1 of the ’513 Patent.

         The doctrine of equivalents does not cure this lack of evidence. Realtime

   failed to provide particularized testimony and linking argument as to the

   insubstantiality of the differences with respect to the function-way-result test as to

   any element of claim 1 or claim 14 of the ’513 Patent. Although Dr. Mitzenmacher




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   purported to address the doctrine of equivalents, he did no more than recite the

   standards along with conclusory assertions that they had been met. 12 This

   conclusory testimony does not rise to the level of substantial evidence.

           Because Realtime has failed to prove that Riverbed’s Steelhead products

   satisfy each and every element of claim 1 of the ’513 Patent, judgment as a matter

   of law is appropriate.

   3.      There is no substantial evidence to support inducement.

           To show active inducement of infringement, Realtime must prove by a

   preponderance of the evidence that Riverbed’s customers (or anyone else) directly

   infringed the Asserted Claims or that Riverbed has actively and knowingly aided

   and abetted that direct infringement. To show active inducement, Realtime must

   show by a preponderance of the evidence that (1) Riverbed has taken action during

   the time the patent is in force which encourages acts by someone else; (2) the

   encouraged acts constitute direct infringement of that claim; (3) Riverbed was

   aware of the patent, and knew that the encouraged acts constitute infringement of

   the patent or was willfully blind to the infringement of the patent; (4) Riverbed had

   the intent to encourage infringement by someone else; and (5) the encouraged acts

   are actually carried out by someone else. 13

           Realtime presented no testimony or evidence that Riverbed had any reason to

   believe their products infringed. This is especially true in light of the testimony that


   12
     Trial Tr., May 23, 2017 A.M. at 52:1-53:11, 78:6-80:6.
   13
     See, e.g., Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766, (2011) (“Accordingly, we now hold that
   induced infringement under § 271(b) requires knowledge that the induced acts constitute patent infringement.”).




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   Realtime’s patents relate to data storage while Riverbed’s SteelHead products are

   aimed primarily at resolving latency. Thus, there is no evidence that Riverbed knew

   or was willfully blind to Realtime’s patents.

         With respect to claim 1 of the ’513 Patent, which is a method claim, Realtime

   must show that a customer used the SteelHead in an infringing manner. There is no

   substantial evidence that Riverbed encouraged acts of infringement by a customer

   that directly infringed the patents. Nor is there substantial evidence that any

   customer actually carried out any infringing act. In any event, Realtime failed to

   show any specific acts of infringement by customers or the number of any such

   specific acts. By presenting evidence of damages only on overall revenue, this

   failure leaves Realtime with no reasonable damages model for any induced

   infringement.

   4.    There is no evidence of a reasonable royalty.

         Realtime bears the burden to prove its damages. It is Realtime’s burden in

   the first instance to mark its products (or cause its licensees to mark) and to show

   that such marking has occurred. Having failed to present any evidence that it has

   marked the licensed products, Realtime cannot show a right to recover damages

   before the date suit was filed.

         Riverbed has objected to the use of convoyed sales as a basis for determining

   the royalty base. But even if inclusion of convoyed sales were appropriate, to be

   included in the royalty base, such sales must be functionally related to the

   infringing aspects of the accused product. Further, Realtime must demonstrate that

   the convoyed sales would not have occurred but for the infringing aspects of the


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 device. Realtime has failed to provide substantial evidence of convoyed sales

 functionally tied to the alleged infringement and should not, therefore, be entitled

 to recover any damages related to convoyed sales.

            A reasonable royalty award must also be based on the incremental value that

 the patented invention adds to the end product. When the infringing products have

 both patented and unpatented features, measuring this value requires a

 determination of the value added by the patented feature. 14 Under this standard,

 Realtime has failed to properly apportion the value of the SteelHead products.

            Realtime also failed to provide substantial evidence of a hypothetical

 negotiation reflecting what a willing licensee would pay a willing licensor for the

 allegedly infringing aspects of the Steelhead. Realtime’s reasonable royalty evidence

 is speculative and improperly based on non-comparable license agreements. Based

 on this failure, Riverbed moves for judgment as a matter of law that Realtime has

 failed to adequately prove any damages.




 14
      Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014).




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 Dated: May 26, 2017                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served via the Court’s ECF system on all

 counsel of record who have consented to electronic service according to the Federal Rules of

 Civil Procedure on May 26, 2017.

                                                 /s/ Matthew P. Chiarizio




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